UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF LOUISIANA

DR. DOROTHY NAIRNE, ET AL. CIVIL ACTION
VERSUS NO. 3:22-CV-00178

R. KYLE ARDOIN, in his official capacity
As Secretary of State of Louisiana

MOTION TO WITHDRAW COUNSEL OF RECORD

NOW INTO COURT, through undersigned counsel, comes Defendant, NANCY
LANDRY, in her official capacity as Secretary of State of Louisiana, who respectfully requests
that CHARLTON J. MEGINLEY (La. Bar Roll No. 28150) be allowed to withdraw as counsel of
record for Defendant in this matter.

Charlton J. Meginley represented the Defendant, and was employed as General Counsel
for R. Kyle Ardoin. He has left his employment with the Secretary of State. The Defendant will
remain represented by the other counsel in this suit. Pursuant to Local Rule 83(b)(13), the
undersigned certifies that Charlton J. Meginley has consented to his withdrawal from these
proceedings.

WHEREFORE, Defendant, NANCY LANDRY, respectfully prays that Charlton J.
Meginley be withdrawn as counsel of record for Defendant in this matter.

Respectfully Submitted:

/s/John C. Walsh

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* Admitted pro hac vice

Counsel for Nancy Landry, in her official capacity
As Secretary of State of Louisiana

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on the 11th day of January, 2024, a copy of the foregoing was
filed electronically with the Clerk of Court using the CM/ECF system, and notice will be sent to
all counsel by operation of the court’s electronic filing system.

S/ John C. Walsh
JOHN C. WALSH

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ORDER
Considering the foregoing Motion to Withdraw Counsel of Record,
IT IS ORDERED, that Charlton J. Meginley is hereby withdrawn as additional counsel of
record for Defendant in this matter.

Baton Rouge, Louisiana, on this day of , 2024.

JUDGE
UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF LOUISIANA
